
PER CURIAM:
This is an appeal from an adverse judgment rendered against plaintiffs by the court below after a full trial on the merits. Involved are three class actions, consolidated for trial, alleging that Eastern Air Lines’ weight control program for flight attendants violates Title VII1 by unlawfully discriminating against female flight attendants in its application and maintenance. On appeal, plaintiffs argue:
(1) The District Court erred in denying plaintiff’s motion, made two weeks before trial, to amend the complaint and modify the class to include applicants.
*870(2) The District Court erred in concluding that defendant’s weight program does not violate Title VII by discriminating on the basis of sex.
(3) The District Court erred in concluding that defendant’s weight program has not been discriminatorily enforced in violation of Title VII against the class of females involved in this action.
(4) The District Court erred in finding that Eastern’s failure to rehire plaintiff Sandra Jarrell was not the consequence of unlawful reprisals under Title VII.
(5) The District Court erred in finding that plaintiff Carmen Chardon was not the object of unlawful reprisals by Eastern under Title VII.
Having reviewed the briefs and the record, we affirm the result below on the basis of the District Court’s opinion, 430 F.Supp. 884.

AFFIRMED.


. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.

